        Case 6:07-cr-10142-JTM           Document 766       Filed 12/03/08      Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,

                         Plaintiff,


  vs.                                                      Case No. 07-10142-04-JTM

 JONEARL SMITH,


                          Defendant.



                                 MEMORANDUM AND ORDER

        Presently before the court are several of defendant Jonearl Smith’s motions. The court

held a hearing on December 1, 2008, where it made several detailed findings. For the reasons

stated on the record, the court rules as follows.

        Smith’s motion for disclosure of expert witnesses (Dkt. No. 665) is granted as

uncontested.

        Smith’s motion for disclosure of the identity of confidential informants and documents

(Dkt. No. 661) is granted in that the government must provide the information thirty days prior to

trial, as set forth in the scheduling order.

        Smith’s motion for adequate court facilities (Dkt. No. 666) is denied without prejudice.

At this point, it is denied as impossible to grant because there is simply no way to give all of the

individual defendants their own counsel table during the trial. If, however, there are only a small

number of defendants that go to trial, then the motion may be reconsidered.
       Case 6:07-cr-10142-JTM           Document 766         Filed 12/03/08       Page 2 of 3




       Smith’s motion to exclude co-conspirators testimonial statements (Dkt. No. 670) is

reserved. The court believes that the James hearing will clear up many matters in this case.

Further, the court believes that specific objections as the trial nears will be helpful in ruling on

this motion.

       Smith’s motion to produce grand jury transcripts (Dkt. No. 668) is granted narrowly.

Federal Rule of Criminal Procedure 6 governs disclosure of grand jury minutes, witnesses, and

transcripts. The secrecy of the grand jury proceedings is extremely important. United States v.

Procter & Gamble, 356 U.S. 677, 682 (1958). The Supreme Court has repeatedly held that grand

jury materials can be disclosed only when the party requesting disclosure shows a particularized

need that outweighs the policy of secrecy. Dennis v. United States, 384 U.S. 855, 870 (1966).

The burden to show that particularized need falls upon the party requesting the disclosure.

Douglas Oil Co., 441 U.S. at 223. The request must be structured to cover only material needed

to avoid injustice. In re Grand Jury, 118 F.3d 1433, 1437 (10th Cir. 1997). It must be more than

just permission “to engage in a fishing expedition.” Id.

       Even if the requesting party can show a particularized need that outweighs the policy of

secrecy, the information disclosed must be done discreetly and in a narrow and limited manner.

Dennis, 384 U.S. at 870. Thus, if able to meet its burden, the requesting party may have access

only to relevant portions of the grand jury materials. Id.

       Smith has failed to show a particularized need to receive all the transcripts. However, the

government is ordered to turn over the grand jury transcripts as it relates to Mr. Smith by Friday,

January 9, 2009.




                                                   2
       Case 6:07-cr-10142-JTM          Document 766        Filed 12/03/08      Page 3 of 3




       Smith’s motion for discovery (Dkt. No. 562) is granted in part and denied in part as

follows. Mr. Smith’s request for a copy of the CDs is granted, as the government provides that

Mr. Smith need only seek a copy. Mr. Smith’s request for DNA analysis is denied because such

analysis does not exist. However, the government is ordered to check to see if the swabs are still

available and notify Smith if they are. Smith’s request for the incident history and copy of police

dispatch transmissions is denied because the government states that it does not have a copy.

However, the government is ordered to determine if they do exist, and then turn it over to Smith

if it does. The government has agreed to provide Mr. Smith with his “gang sheet”, as well as the

property receipt from the 2006 incident.

       Smith’s motion for disclosure by the government of 404(b) evidence (Dkt. No. 659) is

granted insofar as the 404(b) deadlines are set out in the scheduling order.

       Smith’s motion for a bill of particulars (Dkt. No. 672) is denied for the reasons detailed

on the record.

       IT IS ACCORDINGLY ORDERED this 3rd day of December, 2008.



                                                                s/ J. Thomas Marten
                                                                J. THOMAS MARTEN, JUDGE




                                                 3
